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                                                                                              ATY VIH .VA .'7'
                                                                                                   FILED

                        IN TH E UNITED STATES DISTRICT COURT                                 JUL 12 1216
                       FO R TH E W ESTERN DISTRIC T O F V IR G IN IA                       JULl     u L ,
                                                                                         a%/:
                                   D AN V ILLE D IVISIO N                                      DE fY E      :?
U N ITED STATE S O F AM ERIC A                   )        Crim inalA ction N o.4:12-cr-00001-4
                                                 )
V.                                               )        M EM OR ANPVM OPINION
                                                 )
QUENTIN DW AYNE M CNEBB,                         )        By:    H on.Jackson L.K iser
       Petitioner.                               )               Senior United States D istrictJudge

        QuentinDwayneM cNebb,afederalinmateproceedingproK ,filedamotiontovacate,
setaside,orcorrectsentence,ptlrsuantto28U.S.C.j2255.TheUnitedStatesfiledamotionto
dism iss,and Petitionerresponded,m aking the m atterripe fordisposition. After review ing the

record,1grantthe U nited States'm otion to dism issbecause claim s ofcourterror are w aived and

defaulted and theclaim ofineffectiveassistanceofcounselispatently frivolousand false.

                                                     1.

        On A ugust21,2012,Petitionersigned a plea agreem entw ith the U nited Statesto plead

guiltytoconspiringtopossesswith intenttodistributemarijuana,in violationof21U.S.C.
j841(b)(1)(D)andj846(ûçcotmtOne''),andpossessingatirearm in furtheranceofadnlg-
traffickingcrimethatcausedthedeathofaperson,inviolation of18U.S.C.j924/)and()
(dtcountThree'').1Aspartofthisagreement,Petitioneragreedtowaivetherighttoappealand

therighttocollaterally attackthejudgment.Thewaiverprovision foracollateralattackreads:
            Iwaive any rightIm ay haveto collaterally attack,in any futureproceeding,
            any orderissued in thism atter,tm lesssuch attack is based on ineffective
            assistance ofcotm sel,and agree Iwillnotfile any docum entwhich seeksto
            disttlrb any such order,unlesstiling isbased on ineffective assistanceof
            counsel.1agreeandunderstandthatif1fileanycourtdocument(exceptforan
            appealbased on an issuenototherwise waived in thisagreement'   ,an appeal
            based on an issue thatcnnnotbe w aived by law ;ora collateralattack based on
            ineffectiveassistanceofcounsel)seekingtodisturb,inanyway,anyorder

     1ldism issed cotmttwo ofthesecond superseding indictm entaAerPetitioner'ssentencing forCountsO neand
Tlzree,pursuantto the plea agreem ent.
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          imposed in m y case,such action shallconstituteafailtlreto comply with a
          provision ofthisagreem ent.

Plea Ag't8.

       Dtlringthepleahearingon thesnmeday,Petitioneracknowledged tmderoath thathe

tmderstoodhewaivedhisrighttoappealandtocollaterallyattackthejudgmentorsentence.
Petitioneracknowledged thatnobody Ssoutsideorinsidethe govem ment''presslzred orcoerced

Petitionerto plead guilty. Petitioner also affirm ed thathe had no com plaintstiaboutthe m nnner

inwhich ghelwasrepresentedby(hisllawyersuptothlatlpointintimel.l''Petitionerf'urther
affinnedthatthewritten plea agreem entwastheentireand only arrangementbetween him and

theUnited States.lexplained thevariousrightsPetitionerwaived by pleadingguilty,andafter

considering a11ofPetitioner'sanswersto my questions,ldeterminedthatPetitionerknowingly

and voltm tarily pleaded guilty to CountsO ne and Three. Petitionerexecuted the guilty plea

form ,which states,û$M y pleaofguilty ismadeknowingly andvoluntarily andwithoutthreatof

any kind orwithoutpromisesotherthanthosedisclosedherein open court.''Iultimately

sentenced Petitionerto 240 m onths'incarceration,consisting ofa 60 m onth sentence forCount

One and a 180 m onth consecutive sentenceforCountThree.

       Petitionerhasnow timelyfiledaj2255motionallegingthreeclaims.First,counsel
rendered ineffective assistanceofcounselpriorto and during theplea guilty hearing. Second,

thecourterredbecauseajtlrydidnotdetennineadditionaloffenseconducttowhichPetitioner
didnotplead guilty.Third,thecotu'
                                terredbecauseajury didnotdetenninefactorsthat
increased Petitioner'ssentence.TheUnited Statesm ovesto dism isstheclaim sasbarred by the

collateralattack waiverand asmeritless.Afterreviewingtherecord,1agreewith the United

Statesanddismissthej2255motion.

                                               2
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                                               ll.

       ltissettled circuitlaw thataçlcriminaldefendantm ay waive hisrightto attack his

conviction and sentencecollaterally,so long asthewaiverisknowing and voluntary.''United

Statesv.Lemaster,403F.3d216,220(4thCir.2005).W aiversofcollateralreview areanalyzed
underatwo-partanalysisin which both thevalidity and the scopeofthewaiverareconsidered.

See.e.c.,UnitedStatesv.Attar,38F.3d727,731-33(4thCir.1994)(holdingthatawaiverwill
be enforced ifthe record establishesthatthewaiverisvalid and thatthe issuebeingappealed is

withinthescopeofthewaiver).Thevalidityofawaiverûsdependsonwhetherthedefendant
knowinglyandintelligentlyagreedtowaivetheright.''ld.at731-32.çigllntheabsenceof
extraordinary circtlm stances,thetruth ofsworn statementsm adedtlring aRule 11colloquy is

conclusivelyestablished,andadistrictcourtshould...dismissanyj2255motionthat
necessarily relieson allegationsthatcontradictthe sw orn statem ents.'' Lem aster,403 F.3d at

221-22;seeUnitedStatesv.Brown,232 F.3d399,405-06(4th Cir.2000)(holdingthata
defendant's statem ents dlzring the plea colloquy and evidence thathe discussed the term s ofthe

waiverprovision with counseland fully tm derstood them provide powerfulevidence thatthe

waiverisvalid).lfthecourtdeterminesthatapetitioner'sallegations,viewedagainsttherecord
oftheRule 11pleahearing,are so tûpalpably incredible,so patently frivolousorfalseasto

warrantsllmmarydismissal,''thecourtmaydismissthej2255motionwithoutahearing.
Lemaster,403F.3dat220(intemalquotationsandcitationsomitted).Althoughthevalidity
detennination isoften m adebased on thetûadequacy ofthepleacolloquy- specifically,whether

the districtcourtquestioned the defendantaboutthe ...w aiver the issue ultim ately is

tevaluated by reference to thetotality ofthe circum stances.''' United Statesv.Blick,408 F.3d

162,169(4thCir.2005)(quotingUnitedStatesv.General,278F.3d389,400 (4th Cir.2002:.
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Thus,the determ ination Citm ustdepend,in each case,upon the particularfactsand circllm stances

surroundingthatcase,includingthebackgrotmd,experience,andconductoftheaccused.'''JA
(quotingUnitedStatesv.Davis,954F.2d 182,186(4thCir.1992$.
       Thatdiscussion does notend the inquiry,however,because a courtm ustalso considerthe

scopeofthepleaagreem entwaiver. TheUnited StatesCourtofAppealsforthe Fourth Circuit

hasdistinguished ananow classofclaim sthatfalloutside the scope ofan enforceablewaiverof

directappealand j2255rights;issuesthatadefendantcouldnotreasonablyhaveforeseenwhen
entering into a plea agreem ent,such as the denialofcounselatany stage ofthe proceedings

following the entry oftheplea;theimposition ofa sentenceabovethestatutory m aximum ;orthe

imposition ofasentence based on aconstitutionally impermissible factor,such asrace.Attar,38

F.3dat732;Lemaster,403F.3dat220n.2;United Statesv.M arin,961F.2d493,496(4thCir.
1992)*
     ,Blick,408F.3d at169-71.Thus,inadditiontoevaluatingthevalidityofPetitioner's
guilty plea and waiverofcollateralattack rights,Im ustdeterminewhetherhisclaim sfallwithin

the scope ofthe w aiver.

       Dlzringthepleahearing,Petitioneraffinned thathe understood thetennsoftheplea

agreem ent,including theappealand collateralattack waivers;thathe wasenteringtheguilty

pleasand waivingappealand collateralattack rightsknowingly and voltmtarily;andthathe was

com pletely and fully satisfied w ith his attorneys'representation atthattim e. lcarefully

reviewed the provisions ofthe plea agreem entuntil1w as fully satisfied thatPetitionerpleaded

guiltyknowingly and voltmtarily.Accordingly,Ifind thatcollateralattack waiverisvalid.

       1furtherfind thatPetitioner'stwo claim sofcourterrorfallwithin thescopeofthe

waiver. Claim stwo and three do notinvolve the denialofcounselatany proceeding afterthe

guilty plea,the im position ofa sentence above the statutory m axim um ,orthe im position ofa

                                                 4
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sentencebased on aconstitutionally impermissible factor,and they arebased on issuesthat

Petitionerreasonably couldhaveforeseen when entering into apleaagreem ent.Seeee.2.,United

Statesv.Haynes,412F.3d37,39(2dCir.2005)(ç$gT)hepossibilityofchangesinthe1aw is
simplyoneoftherisksallocatedbytheparties'gplealagreement.').Accordingly,claimstwo
and three m ustbe dism issed.2

        However,theclaim ofineffectiveassistanceofcotmseldoesnotfallwithin the scope of

thewaiverbecausethewaiverprovision specifically excludesclaim sofineffective assistmweof

counsel.SeeUnited Statesv.YoohoW eon,722F.3d583,588(4th Cir.2013)(ç$lninterpreting
the term s ofa plea agreem entin conform ity w ith principles ofgeneralcontractlaw ,w e apply the

plain m eaning ofthe agreem ent'stennsw ith the goalofproviding each party the benefitofits

bargain.'').
        W hiletheineffectiveassistanceclaim cnnnotbedism issedbecauseofthewaiver,itmust

bedismissed asm eritless. Petitionerarguesthatcotmselrendered ineffectiveassistance Eiwhen

counselg,lusingtheguiseofacappedsentence...andathzeatofwithdrawalfrom thecase,
induced Petitioner)topleadguiltytoapleaagreementthatfellmarkedlyshortofthatadvice,
and therefore,requiresthe Courtto setaside aguilty pleathatwasrendered constitutionally void

from itsinception.'' M ot.to Vacateat4.1.Thus,Petitionerbelievesthathewascoerced to plead

guilty dueto counsel'sttdeceitregarding theterm sarld conditionsofthepleaagreem ent''and

threattowithdraw from representationifPetitionerrejectedthepleaagreement.Ld.
                                                                           usPetitioner
allegesthatcounseladvised him thatPetitionerw ould receive aten-yearconsecutive sentence

for CountThree instead ofthe fifteen-yearconsecutive sentence he actually received.

    2ThetwoclaimsofcourterrorarealsosubjecttodismissalasprocedurallydefaultedbecausePetitionerdidnot
raisethem on directappeal,andnothingintherecord establishesabasistoexcusethe default. See.e.g.,United
Statesv.Frady,456U.S.152,170(1972).
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       Petitioner's sw orn statem entsm ade during the guilty plea colloquy conclusively establish

thattheclaim ofineffectiveassistanceofcotmselispatently frivolousand false. Petitioner

acknow ledged dudng the plea hearing thatthe statutory m axim um term of incarceration for

CountThreewaslife imprisonm ent,Iwasnotboundby anyparty'ssentencingrecomm endation

orstipulation,and Icould sentence Petitionerup to life im prisonm ent. Petitionertestified that

nobody pressured orcoerced him to plead guilty and thatthe plea agreem entconstituted the

entireand only arrangementbetweenhim andtheUnited States.Petitioneralsotestified thathe

wassatisfied with counsel'sadvice and perform ancewhen he entered hisguilty pleas.

Petitioner'ssworn statem entsduringthepleahearingcontradicthispresentallegationsof

ineffective assistance ofcounsel,and thus,the presentallegationsm ustbe regarded and

dism issed aspatently frivolousand false.

                                              111.

       Forthe foregoing reasons,1grantthe U nited States'm otion to dism issand dism issthe

m otion to vacate,setaside,orcorrectsentence. Based upon m y finding thatPetitionerhasnot

madetherequisitesubstantialshowing ofadenialofaconstitutionalrightasrequired by 28

U.S.C.j2253(c),acertificateofappealabilityisdenied.
       EN TER :This          day ofJuly,2014.
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                                                            Se iorUnited StatesDistrictJudge
